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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   THOMSON REUTERS ENTERPRISE                 )
   CENTRE GmbH and WEST PUBLISHING            )
   CORPORATION,                               )   C.A. No. 20-613-SB
                                              )
              Plaintiffs,                     )
                                              )
        v.                                    )
                                              )
   ROSS INTELLIGENCE INC.,                    )
                                              )
              Defendants.                     )

                  JOINT LETTER REGARDING 2025 TRIAL DATES
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  Dear Judge Bibas:

         Pursuant to D.I. 692, Plaintiffs Thomson Reuters Enterprise Centre GmbH and West

  Publishing Corporation (“Thomson Reuters”) and Defendant ROSS Intelligence, Inc. (“ROSS”)

  (together, the “Parties”) have conferred concerning potential trial dates in 2025. The Parties

  have conferred and are available to start trial on May 12, 2025.


                                        Respectfully submitted,

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  November 1, 2024
